       CASE 0:20-cv-02157-JRT-DTS         Doc. 554     Filed 04/09/25    Page 1 of 3




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

 SCHWAN’S COMPANY and                       )   Case No. 0:20-cv-2157 (JRT/DTS)
 SCHWAN’S SHARED SERVICES,                  )
 LLC,                                       )
                                            )
                      Plaintiffs,           )
                                            )
 v.                                         )
                                            )
 RONGXUAN CAI and                           )
 CONAGRA BRANDS, INC.,                      )
                                            )
                      Defendants.           )

       DECLARATION OF RACHEL ZIMMERMAN SCOBIE IN SUPPORT
      OF PLAINTIFFS’ MOTION TO AMEND THE SCHEDULING ORDER TO
      PERMIT SUBSTITUTION OF THEIR COMPUTER FORENSIC EXPERT

        I, Rachel Zimmerman Scobie, declare as follows:

        1.    I am an attorney with the law firm of Merchant & Gould P.C., and I am lead

trial counsel for Plaintiffs Schwan’s Company and Schwan’s Shared Services, LLC

(collectively, “Schwan’s”) in the above captioned matter.

        2.    I make this Declaration on my own information, knowledge, and belief in

support of Schwan’s Motion to Amend the Scheduling Order to Permit Substitution of

Their Computer Forensic Expert.

        3.    I have reviewed the Engagement Agreement between Computer Forensic

Services (“CFS”) and Merchant & Gould. Mark Lanterman signed the Agreement on

behalf of CFS in his then-current role of Chief Technology Officer, while I signed on behalf

of Merchant & Gould. In the Agreement, Merchant & Gould engaged CFS, on behalf of

Schwan’s, to provide digital forensic and other services, as requested. The Agreement
      CASE 0:20-cv-02157-JRT-DTS          Doc. 554     Filed 04/09/25    Page 2 of 3




expressly contemplates CFS providing services that may include imaging, off-site services,

data analysis and consulting, expert witness testimony, data hosting, and other services to

be determined by the parties. The Agreement lists several rates for these services, some of

which are specific to Mark Lanterman. With respect specifically to the expert witness

testimony services referenced, however, the Agreement describes what those services may

entail and lists CFS’s rates for those services without referencing any specific individual

who will provide such services.

       4.     Schwan’s timely identified Mark Lanterman as the expert from CFS it

intended to have testify as an expert and served opening and reply reports signed by Mark

Lanterman on September 27, 2024, and February 14, 2025, respectively.

       5.     On March 5, 2025, Schwan’s offered to make Mark Lanterman available for

a deposition to be held on April 16, 2025.

       6.     The afternoon of March 24, 2025, my team was informed by CFS that Mark

Lanterman was no longer available to serve as a testifying expert in this matter.

       7.     I subsequently communicated with Mark Lanterman’s counsel, Nick

Puklich, who confirmed that Mr. Lanterman was withdrawing from this case.

       8.     Less than 24 hours after first learning of Mark Lanterman’s unavailability, I

emailed counsel for Defendant Conagra Brands, Inc. to inform them of the changed

circumstances. In that email, I informed counsel for Conagra of Schwan’s willingness to

substitute in Sean Lanterman for Mark Lanterman as its testifying expert and that Sean

Lanterman would be available for deposition on April 16, 2025.




                                             2
      CASE 0:20-cv-02157-JRT-DTS           Doc. 554      Filed 04/09/25    Page 3 of 3




       9.     On April 9, 2025, Schwan’s served on Defendants replacement expert reports

signed by Sean Lanterman. As it pertains to disclosures required by FRCP 26(a)(2)(B)(i)-

(iii), the content of these reports does not differ from that contained in the original reports

signed by Mark Lanterman.

       10.    Attached hereto as Exhibit 1 is a true and correct copy of an email chain

between me and counsel for Conagra, dated March 31 – April 1, 2025.

       11.    Attached hereto as Exhibit 2 is a true and correct copy of Docket Entry No.

162 from Anderson v. United States, No. 21-CV-02088 (JMB/LIB) (D. Minn.).

       12.    Attached hereto as Exhibit 3 is a true and correct copy of Docket Entry No.

150 from Anderson v. United States, No. 21-CV-02088 (JMB/LIB) (D. Minn.).



       I declare under penalty of perjury that the foregoing is true and correct.


Dated: April 9, 2025                               /s/ Rachel Zimmerman Scobie
                                                   Rachel Zimmerman Scobie




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